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Notice of Appeal Criminal en ian

 

United States District Court for the District of Columbia

UNITED STATES OF AMERICA

)
vs. Criminal No. aleriiq(ec)
Diwield. Eatved le 3

- NOTICE OF APPEAL

Name and address of om
Dawe Eatved
LAIYO Boy Sumt Ch
Dillard; MO 2155V 70

Name and address of appellant’s attorney:

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Offense: | USC [S\%, )

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un Cauda S ; 4 4loo SpeecoPasserred eh i

Cneder Name and institution where now confined, if not on bail:

I, the above named appellant, hereby appeal to the United States Court of Appeals for the

District of Columbia Circuit from the above-stated judgment.
{ ‘ : - :
A iby 26, 2023 yen Sable by PMY

 

oe Me, Anne Wet

 

ATTORNEY FOR APPELLANT
GOVT. APPEAL, NO FEE
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal? yes[_| NO iy
Has counsel ordered transcripts? yes[_| NO ry

Is this appeal pursuant to the 1984 Sentencing Reform Act? vesi(7] NO [|

 

co #14
22 (ELF!
Concise statement of judgment or order, giving date, and any sentence: Marcha) ae be musa

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